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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                           Case No. 1:21-cr-20083
v.
                                                           Honorable Thomas L. Ludington
JOHN ROBERT SNOOK,                                         Magistrate Judge Patricia T. Morris

                  Defendant.
________________________________________/

       ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
       DEFENDANT’S PLEA OF GUILTY, AND TAKING THE RULE 11 PLEA
                   AGREEMENT UNDER ADVISEMENT

       On July 14, 2021, Magistrate Judge Patricia T. Morris conducted a plea hearing upon

Defendant John Robert Snook’s consent, after which Judge Morris issued her Report and

Recommendation, recommending that this Court accept Defendant’s guilty plea. ECF Nos. 18; 24.

       Although Judge Morris’s Report stated that the parties could object and seek review within

14 days of service of the Report, neither Plaintiff nor Defendant have objected. Therefore, they

have waived their right to appeal Judge Morris’s finding that Defendant was competent to enter a

plea, and that the plea was entered knowingly, voluntarily, without coercion, and with a basis in

fact. See FED. R. CRIM. P. 11(b); Thomas v. Arn, 474 U.S. 140, 149 (1985).

       Accordingly, it is ORDERED that the Magistrate Judge’s Report and Recommendation,

ECF No. 24, is ADOPTED.

       Further, it is ORDERED that Defendant’s plea of guilty is ACCEPTED, and the Rule 11

Plea Agreement, ECF No. 22, is taken UNDER ADVISEMENT.

       Dated: October 13, 2021                             s/Thomas L. Ludington
                                                           THOMAS L. LUDINGTON
                                                           United States District Judge
